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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division


  ABDICASIIS CABAASE,

                        Petitioner,

         V.                                               CRIMINAL ACTION NO.2:10-cr-57


  UNITED STATES OF AMERICA,

                        Respondent.

                            MEMORANDUM OPINION AND ORDER


         Before the Court is Abdicasiis Cabaase's("Petitioner")pro se Motion to Vacate, Set Aside,

  or Correct a Sentence pursuant to Title 28, United States Code, Section 2255. For reasons set forth

  below. Petitioner's Motion is GRANTED IN PART,DENIED IN PART.

                         I. FACTUAL AND PROCEDURAL HISTORY


         This case involves conduct back in February and April 2010. On February 27, 2010,

  Petitioner and his codefendants decided to try and commit piracy on a Royal Navy vessel from the

  United Kingdom, the HMS Chatham. ECF No. 140 at 3. On April 10, 2010, the same group

  attempted to commit piracy again, this time on a United States Navy vessel, the U.S.S. Ashland.

  Id. at 4. This time, the group began firing their AK-47s at the vessel, but the U.S.S. Ashland

  retumed fire. Id.


         The men were indicted in the Eastern District of Virginia on ten counts: Count One,

  conspiracy to commit hostage taking; Count Two,conspiracy to commit kidnapping; Count Three,

  conspiracy to perform an act of violence against a person on a vessel; Coimt Four, conspiracy

  involving a firearm and a crime of violence; Count Five, piracy under the law of nations; Count

  Six, attack to plunder a vessel; Count Seven, assault with a dangerous weapon on federal officers



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  and employees; Count Eight, act ofviolence against persons on a vessel; and,finally. Counts Nine

  and Ten, use and possession of a firearm in furtherance of a crime of violence. Id. at 2-13.

  Petitioner went to trial and was found guilty on all counts. ECF No. 208. On May 15, 2014,

  Petitioner was sentenced to a total of510 months imprisonment. ECF No. 270.

         Petitioner appealed his convictions and the United States appealed the sentences on Count

  Five—^the piracy count. ECF Nos. 287, 304. The United States Court of Appeals for the Fourth

  Circuit ("Fourth Circuit") affirmed the convictions, but reversed the sentences on Count Five,

  concluding that mandatory life sentences under 18 U.S.C. § 1651 are not disproportionate to the

  offense in this case and, therefore, do not violate the Eighth Amendment. United States v. Said.,

  798 F.3d 182, 200 (4th Cir. 2015), cert, denied, 136 S. Ct. 2448 (2016). Following a remand for

  resentencing, the Court resentenced Petitioner to Life imprisonment on Count Five and 360

  consecutive months on all other counts. Petitioner appealed again, and the Fourth Circuit affirmed.

  United States v. Osman, 705 F. App'x 190(4th Cir. 2017).

         On September 10, 2018, Petitioner filed the instant motion and argues five grounds for

  relief. ECF No. 455. First, Petitioner challenges both of his convictions under 18 U.S.C. §

  924(c)(1)(A). Id. at 4. Petitioner also raises four ineffective assistance of counsel claims. Id. at 5.

  On September 18, 2018, the Court ordered the Government to respond. ECF No. 457. The

  Government filed its Response in Opposition on November 30,2018. ECF No.465. Petitioner did

  not file a reply. On July 17, 2019, the Court held an evidentiary hearing on the four alleged issues

  of ineffective assistance of counsel. ECF No. 488.
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                                     11. LEGAL STANDARDS

     A. Section 2255


         Section 2255 allows a federal prisoner "claiming the right to be released upon the ground

  that the sentence was imposed in violation ofthe Constitution or laws of the United States ...[to]

  move the court which imposed the sentence to vacate,set aside or correct the sentence." 28 U.S.C.

  § 2255. In a § 2255 motion, the petitioner bears the burden of proving his or her claim by a

  preponderance of the evidence. See Miller v. United States^ 261 F.2d 546, 547 (4th Cir. 1958).

  Additionally,pro se filers are entitled to more liberal construction of their pleadings. Erickson v.

  Pardus, 551 U.S. 89,94(2007).

         When deciding a § 2255 motion, the Court must promptly grant a hearing "unless the

  motion and the files and records of the case conclusively show that the prisoner is entitled to no

  relief." 28 U.S.C. § 2255(b). Motions under § 2255 generally "will not be allowed to do service

  for an appeal." Sunal v. Large,332 U.S. 174,178-79(1947). For this reason,issues already fully

  litigated on direct appeal may not be raised again under the guise of a collateral attack. United

  States V. Dyess, 730 F.3d 354, 360(4th Cir. 2013). Issues that should have been raised on direct

  appeal are deemed waived,procedurally defaulted, and cannot be raised on a 2255 Motion. United

  States V. Mikalajunas, 186 F.3d 490, 492 (4th Cir. 1999). However, an individual may raise a

  procedurally defaulted claim if he/she can show(1)"cause and actual prejudice resulting from the

  errors of which he complains" or(2)that"a miscarriage ofjustice would result from the refusal of

  the court to entertain the collateral attack....[meaning] the movant must show actual innocence

  by clear and convincing evidence." Id. at 492-93. To demonstrate cause and prejudice,a petitioner

  must show the errors "worked to [her] actual and substantial disadvantage, infecting [her] entire

  trial with error of constitutional dimensions." United States v. Frady,456 U.S. 152, 170 (1982).
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  Ineffective assistance of counsel claims should generally be raised in a collateral motion instead

  of on direct appeal and constitute sufficient cause to review a procedurally defaulted claim. See

  Untied States v. Benton, 523 F.3d 424,435(4th Cir. 2008); Mikalajunas, 186 F.3d at 493.

     B. Ineffective Assistance of Counsel


         A viable ineffective assistance of counsel claim arises when "the counsel's conduct so

  undermined the proper functioning of the adversarial process that the trial did not result in a just

  outcome." Strickland v. Washington, 466 U.S. 668, 686 (1984). To prove a claim of ineffective

  assistance of counsel, a petitioner must make two showings.

         First, a petitioner must show that counsel's performance was deficient. Id. at 687.

  Counsel's errors must have been so serious that he or she was not actually functioning as "counsel"

  as guaranteed by the Sixth Amendment. Id. In order to demonstrate deficient performance, a

  petitioner must show "that counsel's representation fell below an objective standard of

  reasonableness" under the prevailing norms of the legal community. Id. at 688.

         "Judicial scrutiny of counsel's performance must be highly deferential," so "a court must

  indulge a strong presumption that counsel's conduct falls within the wide range of reasonable

  professional assistance." Id. at 689. That presumption is even greater when counsel's decisions

  represent strategic, tactical decisions requiring "assessment and balancing of perceived benefits

  against perceived risks." United States v. Terry, 366 F.3d 312, 317(4th Cir. 2004). A petitioner

  bears the burden of rebutting this presumption. Strickland, 466 U.S. at 689.

         Second, a petitioner must show that the deficient performance prejudiced the defense. Id.

  at 687. In other words, counsel's errors must have been so serious that the petitioner was deprived

  of a fair trial with a reliable result. Id. To demonstrate prejudice, a petitioner must prove that

 "there is a reasonable probability that, but for counsel's unprofessional errors, the result of the
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  proceeding would have been different." Id. at 694. The Supreme Court defined a reasonable

  probability as "a probability sufficient to undermine confidence in the outcome." Id. In short,

 "[a]n error by counsel, even if professionally unreasonable, does not warrant setting aside the

 judgement of a criminal proceeding if the error had no effect on the judgment." Id. at 691.

                                         III. DISCUSSION


  A. Petitioner's Challenge to Counts Nine and Ten (the § 924(c)(1)(A) Charges)

         Petitioner claims his convictions on Counts Nine and Ten rely on 18 U.S.C. § 924(c)(3)(B)

  and are invalid because the residual clause is unconstitutionally vague. ECF No.455 at 4.

         As an initial matter, the Government argues that Petitioner is procedurally barred from

  raising this claim because he did not raise it on direct appeal. ECF No. 465 at 15-17. However,

  Petitioner is not procedurally barred from raising this claim; such an argument was arguably not

  available on appeal because at that time Sessions v. Dimaya, 138 S. Ct. 1204(2018), United States

  V. Davis, 139 S. Ct. 2319(2019), and United States v. Simms, 914 F.3d 229 (4th Cir. 2019), had

  not yet been decided. Petitioner's vagueness challenge is based on a new watershed rule that was

  undecided at the time ofappeal and Petitioner's vagueness challenge is not procedurally defaulted.

  league v. Lane,489 U.S. 288,311 (1989). A collateral attack based on new authority that narrows

  the construction ofthe statute ofconviction is permissible. Bousley v. United States,523 U.S.614,

  621 (1998).

         Section 924(c)(1)(A) prohibits the use, carrying, possession, brandishing, or discharge of

  a firearm in furtherance of a "crime of violence." 18 U.S.C. § 924(c)(1)(A). The United States

  Supreme Court has held that the "residual clause" is indeed unconstitutionally vague. Davis, 139

  S. Ct. at 2323-24. Therefore, a conviction under § 924(c)(1)(A) may only be made if the predicate

  offense is a "crime of violence" as defined under § 924(c)(3)(A). Under this remaining clause, an
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  offense is a "crime of violence" if it "has as an element the use, attempted use, or threatened use

  of physical force against the person or property of another." 18 U.S.C. § 924(c)(3)(A).

         Petitioner's convictions stem from two separate encounters between the defendant and two

  warships. ECF No. 140. As alleged in the indictment, the predicate offenses for Count Nine are

  the Conspiracy to Commit Hostage Taking charge (Count One), the Conspiracy to Commit

  Kidnapping charge (Count Two), and the Conspiracy to Perform an Act of Violence against

  Persons on a Vessel charge(Count Three).

         Since Count Nine is predicated solely by the conspiracy convictions in Counts One through

  Three, Petitioner's sentence on Count Nine depends entirely on the residual clause. The Fourth

  Circuit has held that conspiracy charges cannot be crimes of violence under § 924(c)(3)(A) and

  would only be cognizable under the now-unconstitutional § 924(c)(3)(B). Simms, 914 F.3d at

  233-34. As such. Count Nine is therefore based on an unconstitutional statutory provision, and

  should be vacated.


         Conversely, Count Ten depends not only on the conspiracy counts but also Piracy under

  the Law ofNations(Count Five), Attack to Plunder a Vessel(Count Six), Assault with a Dangerous

  Weapon on Federal Officers and Employees(Count Seven), and Act of Violence against Persons

  on a Vessel(Count Eight). One of the elements ofCount Seven is that Petitioner "forcibly assault"

  a federal officer or employee. Federal Jury Practice & Instructions,§ 24:03. Count Eight requires

  that Petitioner committed an "act of violence" on a United States Navy vessel. 18 U.S.C. §

  2291(a)(6). Because both Count Seven and Count Eight undoubtedly qualify as crimes of violence

  under § 924(c)(3)(A), Petitioner's claim fails as to Count Ten.
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  B. Petitioner's Ineffective Assistance of Counsel Claims

         Petitioner raises four grounds in which he believes he was provided ineffective assistance

  of counsel. ECF No. 455 at 5. Petitioner argues his counsel should have challenged Counts One

  and Two as insufficient because the counts are "stand alone conspiracy offenses with no related

  substantive crimes involved." Id. Petitioner also claims his counsel was ineffective because his

  attorney told Petitioner he could not plead guilty to only some of the offenses. Id. Further,

  Petitioner claims his counsel did not obtain any discovery or explain the Government's evidence

  to him. Id. Finally, Petitioner claims his attorney should have challenged indictment Counts Nine

  and Ten because the indictment did not "adequately [link] the § 924(c) charges to only one

  predicate offense." Id. The Court will take each in tum.

     1. Failure to Challenge Stand-Alone Conspiracy Offenses(Counts One and Two)

         Petitioner argues that his lawyer was ineffective by not challenging Counts One and Two

  for "insufficiency" and "lack ofjurisdiction" because Counts One and Two charged "stand-alone

  conspiracy offenses with no related substantive crimes attached."Id. However,convictions for the

  conspiracies in Coimts One and Two do not require conviction of an underlying substantive

  offense. See 18 U.S.C. §§ 371, 1201(c), 1203(a). Unless otherwise indicated by statute, no

  predicate or "substantive" conviction is necessary to establish a criminal conspiracy; a criminal

  agreement and an overt act in furtherance ofthe common goal proves the existence ofa conspiracy,

  regardless of whether the plan is ever brought to fruition. See Ocasio v. United States^ 136 S. Ct.

  1423, 1429-30 (2016). Here, the indictment charges Petitioner with knowingly joining an

  agreement to commit hostage taking or kidnapping and also lists numerous overt acts in

  furtherance of the shared criminal endeavors. ECF No. 140 at 2-5. Therefore, counsel had no

  reason to challenge the conspiracy charges in Counts One and Two.
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      2. Failure to Communicate Full Information ofPlea Agreements

          Petitioner claims he asked his trial counsel, Bruce Sams ("Mr. Sams") if he could plea

  guilty to some charges and go to trial on others. ECF No. 455 at 5. According to Petitioner, Mr.

  Sams told Petitioner that he would have to plead to all the charges or none at all. Id. In an affidavit,

  Mr. Sams denied these allegations. ECF 465-1 at 1. Given the disputed evidence, on July 17,2019,

  the Court held a hearing on the matter. ECF No. 488.

          At the hearing, Mr. Sams stated that he did in fact discuss plea agreements with Petitioner,

  but that Petitioner refused to plead. Evid. Hr'g Tr. at 7:16-8:1. According to Mr. Sams,Petitioner

  never asked if he could plead to some charges and not others. Instead, Petitioner maintained he

  was completely innocent on all counts. Id. at 8:8-12. In fact, the original plea offer from the

  Govemment,which Mr. Sams provided to Petitioner, proposed dropping several counts,including

  at least one of the § 924(c)(1)(A) charges. Id. at 8:16-23.

           Mr. Sams did note that there were some possible issues related to the interpreter. Id. at

  12:1-13:6. As a Somalian, Petitioner did not speak English, and an interpreter was required for all

  communications between him and Mr. Sams.' Id. at 12:1-11. Mr. Sams reflected that the

  interpreters sometimes had different dialects, which may have hindered effective communication

  between him and Petitioner. Id. at 15:1-17. Mr. Sams also stated he never provided Petitioner with

  a copy ofthe plea agreement, either in English or a translated copy.Id. at 17:8-19:10,24:24-26:6.

          The Coixrt finds that Mr. Sams performance with respect to the plea discussions did not fall

  below the standard of performance in Strickland. Mr. Sams negotiated plea agreements with the



 'Relatedly, at the hearing, Petitioner stated that he could not speak English, even now. Evid. Hr'g Tr. at 27:21-28:2.
  The Court notes that the Motion is written in clear, understandable English. See generally ECF No.455. Apparently,
  Petitioner enlisted the aid oftwo English-speaking individuals at the facility where he was detained at the time to
  help him prepare the instant Motion. Evid. Hr'g Tr. at 30:4-23, 33:6-35:1. The Court does not believe that this
  affects the validity of the instant Motion but does find it troubling that Petitioner failed to disclose any ofthis
  information prior to the evidentiary hearing.

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  Government, including one that actually allowed Petitioner to avoid conviction on some of the

  counts. He communicated this to Petitioner, but it was Petitioner's belief in his innocence that

  prevented any further progression in the plea discussions. While Petitioner may have had some

  issues with the dialects of various interpreters, a federally certified translator was present. In fact,

  at the evidentiary hearing on July 17, 2019, Petitioner effectively commimicated with the help of

  one ofthe interpreters who was present during his trial. See Evid. Hr'g Tr. at 18:3-4; see generally

  id. at 27:14—35:7 (Petitioner's own testimony as aided by the interpreter). It is the Court's view

  that Mr. Sams effectively communicated and conferred with Petitioner on the plea offers, and it

  was Petitioner's own belief in his innocence that hindered these discussions.

     3. Failure to Obtain and Discuss Brady Material and Additional Discovery

         According to Petitioner, Mr. Sams never received any discovery or did not review any

  discovery with him. ECF 455 at 5. Again, Mr. Sams adamantly denied this allegation. EOF 465-1

  at 1-2. The Court addressed this matter at the July 17,2019 hearing as well. ECF No. 488.

         At the hearing, Mr. Sams noted that he received voluminous amounts of discovery and that

  he reviewed it with Petitioner; Petitioner's current counsel did not further explore this matter. Evid.

  Hr'g Tr. at 6:1-21. However, there was some time spent on whether Petitioner understood his

  right to testify in his own defense. Id. at 10:24-11:23, 19:11-23:14. Mr. Sams stated that he

  discussed the idea ofPetitioner testifying, but Petitioner decided against it after understanding that

  the Government would also have the right to cross-examine him. Id. at 10:24-11:23. Petitioner

  stated that Mr. Sams only told him that if he testified he would have to testify against his co-

  defendants. Id. at 29:11-24. However, the Court also had explained to Petitioner that he had the

  right to testify. ECF No. 333 at 415:16-416:3. Based on the statements given at the evidentiary
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  hearing and the entire record, the Court finds that Mr. Sams was not deficient in his performance

  with respect to the discovery in the case.

     4. Failure to Challenge Adequate Linking of§ 924(c)(1)(A) Charges to Predicate
        Offenses (Counts Nine and Ten)

         Petitioner finally claims his counsel was deficient because his attomey did not challenge

  the indictment on Counts Nine and Ten for failing to "adequately lin[k] the § 924(c) charges to

  only one predicate offense." ECF 455 at 5. This assertion is also entirely unfounded. Again,

  counsel's actions are judged in light of the law at the time the attomey acted, and counsel is not

  required to argue novel applications or extensions ofthe law.See United States v. Mason,11A F.3d

  824,830(4th Cir. 2014); see also Lewis v. Wheeler, 609 F.3d 291, 310(4th Cir. 2010). As stated

  above. Count Ten was clearly linked to crimes ofviolence in Counts Five through Eight and Count

  Nine was linked to Counts One through Three. ECF No. 140. There is no requirement, that the

  indictment link § 924(c) charges to only one predicate offense. See United States v. Khan, 461

  F.3d All,494(4th Cir. 2006). Therefore, Petitioner cannot show that his counsel was ineffective

  for failing to challenge Counts Nine and Ten on this linkage theory.

                                               IV. CONCLUSION


         For the reasons set forth above. Petitioner's Motion is GRANTED IN PART,DENIED

  IN PART. The Motion is GRANTED insofar as Count Nine is based upon an unconstitutional

  statutory provision. It is DENIED on all other grounds. Count Nine is VACATED, and the

  judgment against Petitioner will be amended to reflect this. Petitioner is not entitled to a

  resentencing since Count Five, the piracy charge, remains unchallenged and require a Life

  sentence.


         This Court may issue a certificate of appealability only if the applicant has made a

  substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c); Fed. R. App. P.

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  22(b)(1). This means that Petitioner must demonstrate that "reasonable jurists could debate

  whether...the petition should have been resolved in a different manner or that the issues presented

  were 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S. 473,

  484(2000)(quoting              V. Estelle,463 U.S. 880,893, n.4(1983));jee United States v. Swaby,

  855 F.3d 233, 239 (4th Cir. 2017). Petitioner's claims that the Court has denied are based on

  incorrect interpretations of statutory provisions and judicial precedent. As such, Petitioner fails to

  demonstrate a substantial showing of a denial of a constitutional right, and a Certificate of

  Appealability is DENIED.

         In addition, the Court ADVISES Petitioner that he may appeal from this final Order by

  forwarding a written notice of appeal to the Clerk of the United States District Court, United States

  Courthouse, 600 Granby Street, Norfolk, Virginia 23510. The Clerk must receive this written

  notice within sixty (60) days from this Order's date. The Court DIRECTS the Clerk to provide a

  copy of this Order to all Parties.

         IT IS SO ORDERED.




  Norfolk, Virginia
  August
  August      2019
             ,zu 1y                                                   Raymond A.Jackson




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